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13                             UNITED STATES DISTRICT COURT

14                           NORTHERN DISTRICT OF CALIFORNIA

15 IN RE: SOCIAL MEDIA ADOLESCENT                Case No. 4:22-MD-03047-YGR
   ADDICTION/PERSONAL INJURY
16 PRODUCTS LIABILITY LITIGATION,                MDL No. 3047

17                                               SNAP INC.’S ANSWER AND
                                                 AFFIRMATIVE DEFENSES TO
18 THIS DOCUMENT RELATES TO ALL                  PLAINTIFFS’ SECOND AMENDED
   ACTIONS                                       MASTER COMPLAINT (PERSONAL
19                                               INJURY)

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                                              1                    Case No. 4:22-MD-03047-YGR
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 1          Defendant Snap Inc. (“Snap”) hereby answers Plaintiffs’ Second Amended Master

 2 Complaint (Personal Injury) (the “Complaint”), filed December 15, 2023 (ECF No. 494), with a

 3 general denial and affirmative defenses, as follows:

 4                                           GENERAL DENIAL

 5          Pursuant to the parties’ agreement (ECF No. 1768), Snap denies, generally and

 6 specifically, each and every allegation in the Complaint. Snap further denies, generally and

 7 specifically, that Plaintiffs are entitled to the relief requested against Snap, or that Plaintiffs have

 8 been or will be damaged in any sum, or at all, by reason of any act or omission on the part of

 9 Snap, or any of Snap’s past or present agents, representatives, or employees. Snap denies that

10 Plaintiffs are entitled to any relief.

11                                      AFFIRMATIVE DEFENSES

12          Snap sets forth below its affirmative defenses, subject to its right to amend and assert such

13 other affirmative defenses as may become available during discovery in this action. Each defense

14 is asserted as to all causes of action against Snap. Nothing stated herein is intended or shall be

15 construed as an acknowledgement that any particular issue or subject necessarily is relevant to the

16 allegations of the Complaint. Without admitting any wrongful conduct and without assuming the

17 burden of proving any fact, issue, or element of a cause of action if such burden properly is that of

18 Plaintiffs, Snap alleges upon information and belief as follows:
19                                  FIRST AFFIRMATIVE DEFENSE

20                                            (Lack of Standing)

21          Plaintiffs’ claims are barred in whole or in part because Plaintiffs lack standing to assert

22 some or all of the causes of action alleged and to obtain some or all of the relief requested.

23                                 SECOND AFFIRMATIVE DEFENSE

24                                               (No Injuries)

25          Plaintiffs’ claims are barred in whole or in part because Plaintiffs and/or users of Snap’s

26 services suffered no injuries or harm as a result of any action by Snap.

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28
                                              2                    Case No. 4:22-MD-03047-YGR
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 1                                  THIRD AFFIRMATIVE DEFENSE

 2                                             (Speculative Damages)

 3          Plaintiffs’ claims are barred to the extent that Plaintiffs’ alleged damages are speculative,

 4 uncertain, and/or hypothetical.

 5                                FOURTH AFFIRMATIVE DEFENSE

 6                                         (Real Party in Interest)

 7          Plaintiffs’ claims are barred because Plaintiffs are not the real party in interest.

 8                                  FIFTH AFFIRMATIVE DEFENSE

 9                                  (Lack of Capacity to Assert Claims)

10          Plaintiffs have no capacity, authority, or right to assert some or all of their claims.

11                                  SIXTH AFFIRMATIVE DEFENSE

12                                                  (Ripeness)

13          Plaintiffs’ claims are not ripe.

14                                SEVENTH AFFIRMATIVE DEFENSE

15                                                  (Mootness)

16          Plaintiffs’ claims are barred to the extent they are moot, including because Plaintiffs have

17 made numerous allegations about historical practices or other practices that have ceased and that

18 cannot support a request for injunctive or other relief.
19                                 EIGHTH AFFIRMATIVE DEFENSE

20                                  (Statutes of Limitations and Repose)

21          Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of limitations

22 and of repose. Plaintiffs’ claims are based on alleged acts or omissions that occurred before any

23 applicable limitations period and thus are time-barred.

24                                  NINTH AFFIRMATIVE DEFENSE

25                                                   (Laches)

26          Plaintiffs’ claims are barred, in whole or in part, by the equitable doctrine of laches to the

27 extent that Plaintiffs unreasonably delayed before pursuing their alleged claims.

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 1                                 TENTH AFFIRMATIVE DEFENSE

 2                                (Failure to Join Indispensable Parties)

 3          Plaintiffs have failed to join necessary or indispensable parties.

 4                              ELEVENTH AFFIRMATIVE DEFENSE

 5                                          (Improper Joinder)

 6          The claims asserted against Snap do not arise out of the same transactions or occurrences

 7 as required for joinder of parties.

 8                               TWELFTH AFFIRMATIVE DEFENSE

 9                                              (Preemption)

10          Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ claims are expressly or

11 impliedly preempted, in whole or in part, by federal or state law.
12                             THIRTEENTH AFFIRMATIVE DEFENSE

13                                           (Protected Speech)

14          Plaintiffs’ claims are barred, in whole or in part, to the extent they seek to impose

15 sanctions on Snap for engaging in protected activity under the First Amendment to the United

16 States Constitution and similar provisions of state constitutions, including under the Free Speech

17 Clause to the California Constitution (Cal. Const. art. 1, § 2). Moreover, the representations or

18 statements alleged to have been made were true and accurate at the time made and/or otherwise
19 were made in good faith, with a reasonable belief as to their validity and accuracy and with a

20 reasonable belief that all conduct was lawful.

21                            FOURTEENTH AFFIRMATIVE DEFENSE

22                                    (Communications Decency Act)

23          Plaintiffs’ claims are barred in whole or in part by the Communications Decency Act. See

24 47 U.S.C. § 230(c)(1).

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 1                               FIFTEENTH AFFIRMATIVE DEFENSE

 2                                     (Claim and/or Issue Preclusion)

 3          Plaintiffs’ claims are barred, in whole or in part, by the doctrines of claim and/or issue

 4 preclusion to the extent that Plaintiffs have brought other lawsuits against Snap that reach

 5 judgment before this action reaches judgment.
 6                               SIXTEENTH AFFIRMATIVE DEFENSE

 7                                        (Failure to State a Claim)

 8          The Complaint and each claim contained therein fails to state a claim upon which relief

 9 can be granted, fails to state facts sufficient to constitute a cause of action, and fails to plead

10 cognizable injury.

11                            SEVENTEENTH AFFIRMATIVE DEFENSE

12                                           (No Duty or Breach)

13          Plaintiffs’ claims against Snap fail as a matter of law because Snap neither owed nor

14 breached any duty to any Plaintiffs.

15                             EIGHTEENTH AFFIRMATIVE DEFENSE

16                                           (Assumption of Risk)

17          Snap owes no duty of care toward Plaintiffs in regard to the alleged inherent risks of

18 Snap’s services, and any recovery against Snap is barred or limited under the principle of primary
19 assumption of risk, both express and implied.

20                              NINETEENTH AFFIRMATIVE DEFENSE

21                                     (Lack of Causation, Generally)

22          Snap denies all types of causation, general and specific, including cause in fact, proximate

23 cause, and producing cause, with respect to the claims asserted against Snap.

24                              TWENTIETH AFFIRMATIVE DEFENSE

25                                            (Third Party Fault)

26          A percentage of each Plaintiff’s alleged injury or loss, if proven, is attributable to (i) other

27 parties from whom Plaintiffs seek recovery in this action, and (ii) persons from whom Plaintiffs do

28 not seek recovery in this action. Plaintiffs’ claims are barred and/or Plaintiffs’ damages must be
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 1 reduced, in whole or in part, because of the contributory and/or comparative fault of third parties

 2 who caused or contributed to Plaintiffs’ alleged injuries. Snap is not liable for any alleged harm

 3 Plaintiffs sustained as a result of Plaintiffs’ use of another Defendant’s services; or any non-

 4 party’s website, app, online service, or other good, product, service or intangible.

 5                            TWENTY-FIRST AFFIRMATIVE DEFENSE

 6                              (Third Party Fault – Use of Other Services)

 7          Snap is not liable for any alleged harm by Plaintiffs that users of Snap’s services sustained

 8 as a result of a use of (i) another Defendant’s services; or (ii) any non-party’s website, app, online

 9 service, or other good, product, service or intangible.

10                          TWENTY-SECOND AFFIRMATIVE DEFENSE

11                      (Proportionate Fault of Agents, Employees, Contractors)

12          To the extent any agents, employees, or contractors of Snap caused any of the damages

13 alleged by the Plaintiffs, such agents, employees, or contractors were acting outside the scope of

14 agency, employment, or contract with Snap, and any recovery against Snap must be reduced by

15 the proportionate fault of such agents, employees, or contractors.

16                           TWENTY-THIRD AFFIRMATIVE DEFENSE

17                          (Contributory or Comparative Fault of Plaintiffs)

18          A percentage of each Plaintiff’s alleged injury or loss, if proven, is attributable to the

19 conduct of Plaintiff(s) and/or others acting on Plaintiffs’ behalf. Plaintiffs’ claims are barred

20 and/or Plaintiffs’ damages must be reduced, in whole or in part, because Plaintiffs’ alleged

21 damages were caused by the contributory or comparative fault of Plaintiffs and/or others acting on
22 Plaintiffs’ behalf, because Plaintiffs knowingly encountered the alleged risks of Snap’s services,

23 and because the principle of secondary assumption of risk applies to Plaintiffs’ claims.

24                          TWENTY-FOURTH AFFIRMATIVE DEFENSE

25                        (Independent, Intervening, or Superseding Causation)

26          Plaintiffs’ alleged injuries, in whole or in part, resulted from independent, intervening,

27 and/or superseding causes for which Snap is not legally responsible and which were not

28 foreseeable.
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 1                           TWENTY-FIFTH AFFIRMATIVE DEFENSE

 2                                                 (Misuse)

 3          Users’ alleged injuries and harm, if any, were caused or contributed to, directly and

 4 proximately, in whole or in part, by misuse, unauthorized use, criminal use, unintended use,

 5 unforeseeable use and/or improper use of the service(s) at issue in this matter.
 6                           TWENTY-SIXTH AFFIRMATIVE DEFENSE

 7                                            (Unclean Hands)

 8          Plaintiffs’ claims are barred, in whole or in part, by the equitable doctrine of unclean

 9 hands, including to the extent Plaintiffs’ claims are brought despite violations by users of Snap’s

10 Terms of Service and/or Terms of Use.

11                         TWENTY-SEVENTH AFFIRMATIVE DEFENSE

12                                                (Estoppel)

13          Plaintiffs’ claims are barred in whole or in part by the doctrine of estoppel based on the

14 actions of Plaintiffs and/or their representatives.

15                          TWENTY-EIGHTH AFFIRMATIVE DEFENSE

16                               (Fraud, Illegality, or Improper Conduct)

17          Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs procured Snap’s

18 services through conduct that was fraudulent, illegal, or otherwise improper. Snap’s services were
19 and continue to be age-restricted. Plaintiffs who began using Snap’s services below the permitted

20 age unlawfully obtained Snap’s services while underage and through the use of deception, fraud,

21 or other improper conduct, such as through misrepresentation of their true ages. Plaintiffs’ claims
22 are further barred in whole or in part by the illegality of Plaintiffs’ own actions and/or any

23 fraudulent and/or improper conduct by Plaintiffs.

24                           TWENTY-NINTH AFFIRMATIVE DEFENSE

25                                       (Pre-Existing Conditions)

26          The injuries and harms Plaintiffs allege, if any, were the direct result of users’ preexisting

27 medical conditions or idiosyncratic reactions and/or occurred by operation of nature or as a result

28 of circumstances over which Snap had and continues to have no control.
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 1                              THIRTIETH AFFIRMATIVE DEFENSE

 2                                         (Conduct Not Willful)

 3          Snap denies that it engaged in any wrongful conduct. Any conduct by Snap was not willful

 4 or knowing.

 5                            THIRTY-FIRST AFFIRMATIVE DEFENSE

 6                                     (Sufficient Corrective Action)

 7          Plaintiffs’ claims are barred, in whole or in part, because Snap’s allegedly offending

 8 conduct or practice has ceased and Snap has cured or taken sufficient corrective action in regard to

 9 the alleged defects of which Plaintiffs complain.

10                           THIRTY-SECOND AFFIRMATIVE DEFENSE

11                                                 (Notice)

12          Plaintiffs cannot obtain relief on their claims based on actions undertaken by Snap of

13 which Snap provided notice of all reasonable facts.

14                            THIRTY-THIRD AFFIRMATIVE DEFENSE

15                                        (Discharged Obligations)

16          Snap appropriately, completely, and fully discharged any and all obligations arising out of

17 the matters alleged in the Complaint.

18                           THIRTY-FOURTH AFFIRMATIVE DEFENSE

19                                                (Consent)

20          Plaintiffs have consented to and/or ratified the conduct alleged in the Complaint.

21                            THIRTY-FIFTH AFFIRMATIVE DEFENSE

22                                                (Contract)

23          Plaintiffs’ claims are barred in whole or in part by contracts and/or agreements, including

24 the integrated Terms of Service, they entered into with Snap or third parties.

25                            THIRTY-SIXTH AFFIRMATIVE DEFENSE

26                                              (Justification)

27          Plaintiffs’ claims are barred, in whole or in part, because to the extent Snap engaged in any

28 of the alleged acts, omissions, or conduct, it did so with justification.
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 1                          THIRTY-SEVENTH AFFIRMATIVE DEFENSE

 2                   (Ordinary Course of Business; Industry Custom and Practice)

 3          Plaintiffs’ claims are barred, in whole or in part, because at all relevant times, Snap’s

 4 actions were within the ordinary course of business and complied with industry custom and

 5 practice.
 6                           THIRTY-EIGHTH AFFIRMATIVE DEFENSE

 7                          (Derivative Nature of Unjust Enrichment Claim)

 8          Any unjust enrichment claim is barred, in whole or in part, as entirely derivative of

 9 Plaintiffs’ other, legally deficient claims.

10                            THIRTY-NINTH AFFIRMATIVE DEFENSE

11                                      (Adequate Remedy at Law)

12          Plaintiffs’ equitable claims are barred, in whole or in part, because Plaintiffs have an

13 adequate remedy at law, because Plaintiffs have no factual or legal basis for the grant of equitable

14 relief, and because Plaintiffs’ alleged equitable relief would duplicate legal remedies that are

15 alleged. In addition, to the extent that Plaintiffs seek money as an equitable “abatement” remedy,

16 that is an improper remedy.

17                               FORTIETH AFFIRMATIVE DEFENSE

18                                                (Arbitration)

19          Plaintiffs’ claims are barred in whole or in part to the extent that Plaintiffs agreed to

20 binding arbitration agreements and have no right to recovery outside of arbitration.

21                             FORTY-FIRST AFFIRMATIVE DEFENSE

22                        (Defenses Against Claims Made on Behalf of Others)

23          Plaintiffs’ claims are subject to all defenses that could be asserted if Plaintiffs’ claims were

24 properly made by individuals on whose behalf or for whose alleged injuries or harm Plaintiffs seek

25 to recover.

26                           FORTY-SECOND AFFIRMATIVE DEFENSE

27                                          (Economic Loss Rule)

28          Plaintiffs’ claims are barred, in whole or in part, by the economic loss rule.
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 1                             FORTY-THIRD AFFIRMATIVE DEFENSE

 2                                           (Unjust Enrichment)

 3          Plaintiffs’ claims for relief are barred because they would be unjustly enriched if they

 4 recovered any monetary relief.

 5                           FORTY-FOURTH AFFIRMATIVE DEFENSE

 6                                         (No Punitive Damages)

 7          Punitive damages are not recoverable by Plaintiffs because Plaintiffs have failed to allege

 8 or establish any conduct that would support an award of punitive damages.

 9                             FORTY-FIFTH AFFIRMATIVE DEFENSE

10                       (No Punitive Damages – Statutory/Constitutional Bar)

11          Plaintiffs’ claims for punitive or exemplary damages or other civil penalties are barred or

12 reduced by applicable law or statute or, in the alternative, are unconstitutional insofar as they

13 violate the due process protections afforded by the U.S. Constitution, the excessive fines clause of

14 the Eighth Amendment of the U.S. Constitution, the Full Faith and Credit Clause of the U.S.

15 Constitution, and applicable provisions of the Constitution of this State or that of any other state

16 whose laws may apply. Punitive damages are not recoverable by Plaintiffs.

17                             FORTY-SIXTH AFFIRMATIVE DEFENSE

18                                           (Failure to Mitigate)

19          Plaintiffs are barred from recovery to the extent of Plaintiffs’ and/or users’ failure to avoid

20 or mitigate harm, including but not limited to users’ failure to cease using Snap’s services; failure

21 to seek medical or other assistance in an effort to cease using Snap’s services; or failure to
22 otherwise seek medical or other assistance in an effort to address users’ alleged injuries or harm.

23                          FORTY-SEVENTH AFFIRMATIVE DEFENSE

24                                         (Duplicative Recovery)

25          Plaintiffs’ claims are barred, in whole or in part, to the extent that Plaintiffs seek

26 duplicative relief for the same conduct.

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 1                            FORTY-EIGHTH AFFIRMATIVE DEFENSE

 2                                            (Cap on Recovery)

 3          Plaintiffs’ claims are barred, in whole or in part, pursuant to all applicable statutory and

 4 common law doctrines regarding limitations of awards, caps on recovery, and setoffs.

 5                             FORTY-NINTH AFFIRMATIVE DEFENSE

 6                                           (Collateral Sources)

 7          Snap is entitled to have any damages that may be awarded to Plaintiffs reduced by the

 8 value of any benefit or payment received, available, or to be received by Plaintiffs from any

 9 collateral source, as permitted by law.

10                                FIFTIETH AFFIRMATIVE DEFENSE

11                                           (Set-off/Recoupment)

12          Snap is not liable for the full amount of the claims to the extent Snap is entitled to a set-off.

13                              FIFTY-FIRST AFFIRMATIVE DEFENSE

14                                             (Attorneys’ Fees)

15          Plaintiffs’ request for attorneys’ fees in this action is barred because it lacks any basis in

16 law.

17                            FIFTY-SECOND AFFIRMATIVE DEFENSE

18                                          (Opportunity to Cure)

19          Plaintiffs’ claims are barred, in whole or in part, to the extent that Plaintiffs failed to

20 provide Snap with notice of and a reasonable opportunity to cure the alleged defects.

21                             FIFTY-THIRD AFFIRMATIVE DEFENSE

22                                          (Personal Jurisdiction)

23          With respect to every action originally brought in a court located outside California, Snap

24 avers that this Court lacks personal jurisdiction over it.

25                            FIFTY-FOURTH AFFIRMATIVE DEFENSE

26                                                  (Puffery)

27          Plaintiffs’ claims fail, in whole or in part, to the extent that they are based on nonactionable

28 statements of puffery or opinion, rather that statements of fact.
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 1                             FIFTY-FIFTH AFFIRMATIVE DEFENSE

 2                                      (No Consumer Transaction)

 3          Plaintiffs’ claims fail, in whole or in part, to the extent that they were not made in

 4 connection with a consumer transaction.

 5                             FIFTY-SIXTH AFFIRMATIVE DEFENSE

 6                                          (Petitioning Congress)

 7          Plaintiffs’ claims fail, in whole or in part, to the extent that they are based on petitioning

 8 statements made to Congress.

 9                           FIFTY-SEVENTH AFFIRMATIVE DEFENSE

10                                          (Authorized Conduct)

11          At all times material herein, Snap’s actions were specifically authorized under the laws

12 administered by, or rules and regulations promulgated by, regulatory bodies or officers acting

13 under the authority of the Plaintiff States or the United States.

14                            FIFTY-EIGHTH AFFIRMATIVE DEFENSE

15                        (Content and Parties Outside of Defendant’s Control)

16          Recovery for Plaintiffs’ alleged harm should be barred or reduced to the extent such harm

17 was caused by (A) content created by persons and/or entities not within Snap’s control and/or (B)

18 changes and/or alterations to Snap’s products made by persons and/or entities not within Snap’s
19 control.

20                             FIFTY-NINTH AFFIRMATIVE DEFENSE

21                                        (Contemplated Conduct)

22          Plaintiffs’ claims are barred in whole or in part because the conduct alleged in the

23 Complaint was contemplated by contracts and/or agreements that users of Snap’s services entered

24 into with Snap or third parties.

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 1                               SIXTIETH AFFIRMATIVE DEFENSE

 2                                       (Conformance with Laws)

 3          The claims asserted in the Complaint are barred, in whole or in part, because the activities

 4 of Snap alleged in the Complaint conformed with all state and federal statutes, regulations, and

 5 industry standards based on the state of knowledge at the relevant times alleged in the Complaint.
 6                             SIXTY-FIRST AFFIRMATIVE DEFENSE

 7                                            (State of the Art)

 8          Plaintiffs may not recover from Snap because the methods, standards, or techniques of

 9 designing and making available the services at issue complied with and were in conformity with

10 the generally recognized state of the art at the time the services were designed and made available

11 to users.
12                            SIXTY-SECOND AFFIRMATIVE DEFENSE

13                                          (Preclusion by Law)

14          Plaintiffs are precluded from recovering civil penalties and/or statutory damages under

15 applicable provisions of law.

16                             SIXTY-THIRD AFFIRMATIVE DEFENSE

17                               (Acquiescence, Settlement, and Release)

18          Plaintiffs’ claims are barred, in whole or in part, by the doctrines of acquiescence,

19 settlement, and release.

20                            SIXTY-FOURTH AFFIRMATIVE DEFENSE

21                                     (Dormant Commerce Clause)

22          Plaintiffs’ claims are barred in whole or in part by the dormant Commerce Clause of the

23 United States Constitution.

24                             SIXTY-FIFTH AFFIRMATIVE DEFENSE

25                                         (Due Process Clause)

26          Plaintiffs’ claims are barred in whole or in part by the Due Process Clauses of the United

27 States and Plaintiff States’ Constitutions, including to the extent Plaintiffs seek punitive damages.

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 1                              SIXTY-SIXTH AFFIRMATIVE DEFENSE

 2                                         (Separation of Powers)

 3          Plaintiffs’ claims are barred or limited by the separation of powers doctrine to the extent

 4 that they raise political or policy issues, not legal or constitutional ones.

 5                           SIXTY-SEVENTH AFFIRMATIVE DEFENSE

 6                                  (Consumer Protection of Publishers)

 7          Plaintiffs’ consumer protection claims fail, in whole or in part, to the extent that Plaintiff

 8 States’ consumer protection statutes exempt from liability publishers, broadcasters or other

 9 persons who publish, broadcast, or reproduce material without knowledge of its allegedly

10 deceptive character.

11                            SIXTY-EIGHTH AFFIRMATIVE DEFENSE

12                                  (Consumer Protection Limitations)

13          Plaintiffs’ claims are premised on the provisions and limitations of Plaintiff states’ laws.

14 Snap is entitled to, and claims the benefit of, all defenses and presumptions set forth in or arising

15 from any rule of law or statute of the Plaintiff states or any other state whose substantive law

16 might control the action or claims.

17                             SIXTY-NINTH AFFIRMATIVE DEFENSE

18                                               (No Reliance)

19          Plaintiffs’ claims may be barred, in whole or in part, because users did not rely (reasonably

20 or otherwise) upon any purported statement by Snap in determining to use Snap’s services.

21                              SEVENTIETH AFFIRMATIVE DEFENSE

22                                      (No Retroactive Application)

23          To the extent that Plaintiffs seek relief for Snap’s conduct occurring before enactment of

24 applicable statutes or regulations, the claims fail because the statutes and regulations do not apply

25 retroactively.

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 1                           SEVENTY-FIRST AFFIRMATIVE DEFENSE

 2                                       (Incorporate by Reference)

 3          Snap further incorporates by reference as if set forth herein any defense asserted by another

 4 Defendant in these matters.

 5                          SEVENTY-SECOND AFFIRMATIVE DEFENSE

 6                                           (Defenses Reserved)

 7          Snap hereby gives notice that it reserves the right to rely upon any other defense that may

 8 become apparent as discovery progresses in this matter, and reserves its right to amend the Answer

 9 and to assert any such defense. Snap also reserves the right to amend the Answer and to assert any

10 such defense should Plaintiffs at any time hereafter purport to raise, rely on, or otherwise seek to

11 proceed on any claim or theory stated in their Complaint that has been dismissed. Snap also
12 reserves the right to amend its Answer and to assert any such defense should Plaintiffs at any time

13 hereafter ask the Court to award relief on the basis of Plaintiffs’ prayers for “other” relief.

14                                   SNAP’S PRAYER FOR RELIEF

15          Wherefore, Snap prays as follows:

16          1.      That judgment be entered in favor of Snap and against Plaintiffs, and that

17 Plaintiffs’ action be dismissed in its entirety with prejudice;

18          2.      That Plaintiffs take nothing by way of their Second Amended Master Complaint;

19          3.      That Snap be awarded the costs of defending against this suit, including reasonable

20 attorneys’ fees and other disbursements; and

21          4.      For such other and further relief as the Court shall deem just and proper.

22                                       SNAP’S JURY DEMAND

23          Snap demands a trial by jury on all issues so triable.

24 DATED: March 28, 2025                        MUNGER, TOLLES & OLSON LLP
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26
                                                By:          /s/ Jonathan H. Blavin
27                                                         JONATHAN H. BLAVIN
                                                           Attorney for Snap Inc.
28
                                              15                    Case No. 4:22-MD-03047-YGR
       SNAP INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFFS’ SECOND AMENDED MASTER
                                  COMPLAINT (PERSONAL INJURY)
